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                                                                         U.S. DISTRICT COURT
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF VERMONT                    W2Q JUL I 7 PH ~: 04

*************************************
SCOTT TRAUDT,                       *
Plaintiff                           *
                                    *
V.                                  *                Docket Number: z.: l,, '-{- c.Y _ r8Z.
                                    *                JURY TRIAL DEMANDED
ARI RUBINSTEIN                      *
Defendant                           *
                                    *
GTS SECURITIES LLC                  *
GTS EQUITY PARTNERS LLC             *
GTS EXECUTION SERVICES LLC          *
Defendant                           *
                                    *
CHARLES W. SCHWAB AND CO. INC.               *
SCHWAB HOLDINGS, INC.                        *
Defendant                                    *
                                    *
FINANCIAL INDUSTRY                  *
REGULATORY AUTHORITY                *
Defendant                           *
                                    *                                              +
GARY GENSLER                        *
US SECURITIES AND EXCHANGE          *
COMMISSION                          *
Respondent                          *
                                    *
*************************************

NOW COMES Scott Traudt, Plaintiff in the above-captioned matter, and does hereby

request an order of this court consistent with the proposed order (below) for a Writ of

Mandamus against Respondent Gary Gensler for cause.

                        PROPOSED WRIT OF MANDAMUS

To: Gary Gensler, Chairman of the Securities and Exchange Commission

This matter comes before the United States District Court for the District of Vermont on

the Petition for a Writ of Mandamus filed by Scott Traudt as a motion contained within



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and made part of Traudt v. Rubinstein. The Court, having reviewed the petition, the

response, and the entire record, hereby ORDERS as follows:

                                     BACKGROUND

    1. The U3 Halt of MMTLP Stock: On 9 December 2022, trading of MMTLP stock

       was halted under a U3 trading halt by the Financial Industry Regulatory Authority

       (FINRA). This halt resulted in 65,000 investors losing their investments in

       MMTLP.

    2. Allegations of Illegality: The petitioner has presented overwhelming evidence

       indicating that the U3 halt was executed based on insider, privileged information

       known only to a select few who stood to benefit financially from the halt. The

       evidence suggests that this halt was part of a broader pattern of racketeering

       involving FINRA and major financial players.

    3. Impact on Investors: The illegal halt has caused substantial financial harm to

       65,000 investors, who lost their entire investments due to the halt.

                                   LEGAL STANDARD

The Court may issue a writ of mandamus under 28 U.S.C. § 1361 to compel an officer or

employee of the United States or any agency thereof to perform a duty owed to the

petitioner. The issuance of a writ of mandamus is an extraordinary remedy, reserved for

situations where the petitioner has no other adequate means to attain the desired relief,

and the right to the issuance of the writ is clear and indisputable.

                                         FINDINGS

    1. Clear Duty to Act: The Securities and Exchange Commission (SEC), under the

       leadership of Chairman Gary Gensler, has a clear duty to ensure the integrity of



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      the financial markets and protect investors from fraudulent and illegal activities.

   2. Failure to Act: The SEC has failed to take appropriate action to address the

      illegal halt of MMTLP stock and the subsequent financial harm to 65,000

      investors.

   3. No Adequate Alternative Remedy: The petitioner and the affected investors

      have no other adequate means to obtain relief for the harm caused by the illegal

      halt.

                                        ORDER

Based on the foregoing findings, IT IS HEREBY ORDERED that:

   1. Chairman Gary Gensler, in his official capacity as Chairman of the Securities and

      Exchange Commission, shall immediately direct FINRA to restart trading in

      MMTLP stock for two consecutive trading days.

   2. The trading period shall be limited to "buy to close" transactions only, in

      accordance with FINRA Rule 204, which requires all short position holders to

      close out their positions within this period.

   3. The two days of trading shall commence on the first calendar Thursday that is

      more than 30 days from the date this Order is signed.

   4. Trading shall not resume until FINRA or the SEC releases the bluesheets or

      provides a certified audited share count of MMTLP to MMTLP shareholders.

   5. If necessary, MMTLP shall trade under a new ticker. It shall trade only on the lit

       market, with shares tradable exclusively on registered exchanges. Trading on

       alternative trading systems or through the XADF exchange operated by FINRA

       shall be prohibited.



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   6. The Court shall appoint a "Special Master" to oversee the two days of trading.

       The Special Master shall be selected from former U.S. financial law enforcement

       personnel with extensive experience in financial market oversight.

   7. The Special Master shall employ the latest artificial intelligence and machine

       learning systems to monitor all trading activities in MMTLP during the two days

       of trading and the expenses and costs associated with his/her offices shall be

       borne by the SEC. The focus will be on ensuring transparency, detecting any

       irregularities, and preventing further misconduct.

   8. The AI/ML system shall be embedded at various nodes in the NYSE financial

       ecosystem to give it maximum oversight of the competing AI/ML systems

       operated by Defendant Rubinstein and Defendant GTS as they were the

       controlling legal entities for the market making involved in MMTLP trading.

   9. Chairman Gary Gensler shall ensure that all necessary measures are taken to

       facilitate the closing of short positions and to protect the interests of the 65,000

       affected investors.

   10. Chairman Gary Gensler shall report to this Court within 30 days of this Order on

       the actions taken to comply with this Writ of Mandamus.

IT IS SO ORDERED.
Dated this_ day of AUGUST, 2024.




United States District Judge
District of Vermont




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  Dated: July   Q, 2024
                                               Scott Traudt, pro se zpso
                                               191 Kibling Hill Road
                                               Strafford, VT 05072




                                      CERTIFICATION
  I HEREBY CERTIFY that a copy of the forego~Motion has been forwarded via US
  Postal Service First Class to all Defendants this day July, 2024.

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~.o.~~,                                        Pro Se

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